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                                                                         OR\G\NAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                          X
                                                 SEALED
 UN±rED STATES OF AMERICA                        INDICTMENT

            - v. -                               20 Cr .

 ROBERT HADDEN,

            Defendant.                                          CRIM ·
                                          X


          The Grand Jury charges:

                                OVERVIEW

          1.      As set forth herein, over more than a decade, ROBERT
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HADDEN, the defendant, sexually abused dozens of female patients,

including multiple minors, under the guise of conducting purported

gynecological     and   obstetric    examinations          at    HADDEN's   medical

off i ces and at hospitals in Manhattan, New York.

          2.      In particular ,    from at least in or about 1993 , up

to and including at least in or about 2012,                     ROBERT HADDEN,   the

defendant, enticed and induced multiple victims to travel to his

medical offices in New York , at least in part for the purpose of

subjecting them to unlawful sexual abuse.            HADDEN used his position

as a · medical doctor at a prominent university (the "University")

to make or to attempt to make his victims believe that the sexual

abuse he inflicted on them was appropriate and medically necessary .

HADDEN encouraged his      victims        to   return to        see   him and often

directed his victims to schedule follow-up visits on timelines he
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set .   As a result, some of his victims attended many appointments

with HADDEN over the course of multiple years,                      at which HADDEN

repeatedly abused.them.

                3.     As a part and in furtherance of his scheme, ROBERT

HADDEN,        the   defendant,    enticed,      induced,     and   caused   multiple

victims to return to appointments with him to be further sexually

abused,    knowing that in order to do so many of his victims would

travel to HADDEN's offices in Manhattan, New York, from or through

other states.

                                  FACTUAL BACKGROUND

                4.     At all times       charged in this         Indictment,   ROBERT

HADDEN,        the defendant,     was a medical doctor who worked at the

University.          In particular, between at least in or about 1993 and

in        or         about      2012,        HADDEN         was      a    practicing

obstetrician/gyn~cologist               ("OB/GYN")    who   maintained    offices   at

University-affiliated hospitals and medical offices in Manhattan,

New York .

                5.     Between at least in or about 1993 and in or about

2012, ROBERT HADDEN, the defendant, abused dozens ·o f his patients,

including multiple minors.               HADDEN did so through a process that

entailed developing a relationship with his victims and causing

them to trust him,           before engaging in a course of increasingly

abusive conduct, which HADDEN attempted to mask under the guise of

legitimate medical care.



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             6.        In     particular,        ROBERT      HADDEN,      the    defendant,

typically used the following means and methods, among others, to

facilitate his abuse:

                       a.      Although nurses and assistants were present

for   portions         of    HADDEN's   appointments          with     patients,      HADDEN

frequently created opportunities to be alone with his victims.

Among other things,            HADDEN invited his victims to meet with him

alone in his office, sent nurses and medical assistants out of the

examination room for periods of time, and/or intentionally failed

to· tell   nurses           and medical assistants when              he   was    going into

examination rooms, so that he could be alone with his victims.

                       b.      Once alone with his victims, HADDEN attempted

to develop a rapport with them and put them at ease by asking them

questions about their personal lives and telling them about his

own life and family.

                       c.      During these conversations, HADDEN frequently

brought up inappropriate and medically irrelevant sexual topics

without prompting from his patients.                        For example, HADDEN asked

many of his victims detailed, inappropriate questions about their

own sexual activities and sexual partners.                        HADDEN also offered

unsolicited . advice            to   some        of   his    victims      regarding      such

inappropriate subjects as how to groom their pubic hair and how to

masturbate        or   have     orgasms.         In   some    instances,        HADDEN   made

sexualized comments about his victims' physiques.



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             7.     After developing or attempting to develop a rapport

with his     victims,      ROBERT HADDEN,          the defendant,          then began to

engage in a course of physical s~xual abuse of his victims under'

the guise of providing medical advice and/or medical care.                               He did

so by, among other things, engaging in the following conduct, which

in the case of many victims became increasingly abusive over time:

                    a.      HADDEN       conducted           excessively.         long      and

sexualized breast exams on many of his victims.                      In some instances ,

HADDEN     conducted       two   breast       exams     on   a    victim     in    the     same

appointment,      conducting the             second breast exam typically after

ensuring that no one else was present in the room with HADDEN and

the victim.       Some of these breast exams                     included,    among other

things ,   HADDEN        caressing      or    groping    a    victim's       breasts,       and

pinching, twisting , or otherwise manipulating a victim'~ nipples.

                    b.      HADDEN conducted inappropriate "mole checks                       11




on some of his victims during which his victims were fully nude at

HADDEN's direction.          HADDEN used these "mole checks" as an excuse

to reposition a victim while she was fully nude,                         and to touch a

victim' s breasts,         buttocks ,    and / or genitals for HADDEN's sexual

gratification.       When HADDEN conducted a full - body mole check on a

victim , HADDEN ensured that no one else was in the room with HADDEN

and the victim.

                    c.      HADDEN conducted pelvic exams on some of his

victims during which HADDEN used his hands to touch a victim's



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clitoris,    'labia,      vagina,        and/ or     anus   without      a    valid medical

purpose.     I n many of these instances, HADDEN ensured that no one

els,e was in the room, with HADDEN anct' the victim.

                     d.      On multiple occasions, HADDEN conducted pelvic

exams on victims during which HADDEN licked a victim's vagina.

When HADDEN licked a victim's vagina, he ensured that no one else

was in the room with HADDEN and the victim.

             8.      Through this process, ROBERT HADDEN, the defendant,

sexually     abused       dozens        of    victims,      including        multiple       minor

victims,    over many years.                 Those victims'       experiences included,

but were not limited to,                HADDEN touching a victim's breasts and

nipples,     touching        a    victim's          buttocks,     touching          a    victim's

genitals,        digitally       penetrating          a    victim's      genitals,         and/or

licking a victim's genitals - all without a valid medical purpose.

             9.      ROBERT HADDEN, the defendant,                    frequently targeted

victims who were young and thus unlikely to have much,                                    if any,

experience with OB / GYNs prior to meeting HADDEN.                       For many victims,

HADDEN was their first gynecologist, and for others, HADDEN was

their doctor during their first pregnancy.                          In so doing, HADDEN

intentionally targeted victims who would not know what to expect

during     their    exams        with    HADDEN,      or    who   were       less       likely    to

challenge- HADDEN when he made them feel                          uncomfortable.             As    a

result,     a l though    some     victims         immediately     identified            HADDEN's

conduct     as     abusive       and    never       returned,     many       of   his     victims



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                                                 ').




continued returning to see HADDEN,                sometimes for multiple years,

before   realizing        that     his     examinations         were    inappropriate,

medically unnecessary, · and sexually abusive.

              10.    To   ensure    that    he   could       continue   to    abuse    his

victims, ROBERT HADDEN, the defendant, took various steps to cause

and entice his victims to return to see him, knowing that certain

of his victims would have to travel from or through other states

to attend appointments with him, including appointments at which

HADDEN sexually abused those victims.                   HADDEN enticed some of his

victims to travel into New York from or through other states by

using a number of means and methods, including but not limited to

the following:

                     a.    HADDEN     selected         how   frequently      and   when   a

victim would have her appointments with him, typically directing

the victim to schedule a             follow up appointment at a particular

time interval, and thereby causing the victim to travel interstate

for her appointments.            In some instances, HADDEN directed victims

to   return     at   shorter       intervals     that        were   inconsistent      with

legitimate medical care.

                     b.    HADDEN used access to birth control to entice

victims to travel into New York for appointments.                         For example,

HADDEN would provide a victim with free birth control,                             thereby

enticing her to return for future appointments to obtain additional

free birth control.         In other instances, HADDEN would only provide



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a   victim with      enough birth          control         to       last    a    few   months   and

required the victim to return for multiple appointments in a single

year in order       to    o~tain more birth control.

                     c.         Through conversations with the victims and a

review of their medical files,                  among other ways,                 HADDEN knew at

the time he caused and enticed his victims to return that certain

of his victims would travel from or through a state other than New

York to attend their appointments with HADDEN in Manhattan .

                                   INDIVIDUAL VICTIMS

             11.     Among       the   dozens       of victims             sexually abused by

ROBERT   HADDEN,          the     defendant,        were        a    minor       female    patient

identified herein as Minor Victim-1                        and adult             female   patients

identified herein as Victim- 1, Victim-2, Victim- 3, Victim- (, and

Victim- 5.      In particular,           and during periods                     relevant to     this

Indictment,     HADDEN engaged in the following acts,                              among others,

with respect to these victims:

                                       Minor Victim-1

             -12.    Minor Victim-1 was a patient of ROBERT HADDEN, the

defendant, from at least in or about 2010 up to ~nd including in

or about 2012 .          During the entire time Minor Victim- 1 saw HADDEN

as a patient, Minor Victim- 1 lived in a state outside of New York .

As a result, Minor Victim-1 traveled from out of state into New

York for appointments with HADDEN.                   HADDEN knew that Minor Victim-

1 traveled from. another state to New York for her appointments.



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                13.    ROBERT   HADDEN,        the    defendant,         knew    that     Minor

Victim- 1 was under the age of               is    at the time of her appointments
                                ,.
with him, in part because HADDEN had delivered Minor Victim-1 gt

birth.     As Minor Victim-1 approached and entered puberty, HADDEN

repeatedly        encouraged         Minor   Victim-1' s        parent    to     bring    Minor

Victim- 1 in for appointments with HADDEN.                          As   a     result,    Minor

Victim-1        traveled   to    New     York       for   the    purpose        of   attending

appointments with HADDEN on multiple occasions.

                14.    During   these        appointments,         ROBERT       HADDEN,     the

defendant,        repeatedly sexually abused Minor Victim- 1 through a

course     of    conduct   that       lacked       any valid medical purpose.               For

example,     during one appointment with Minor Victim.:..1,                          after the

nurse left the room, HADDEN instructed Minor Victim- 1 to position

herself on her hands and knees on an exam table while fully nude.

HADDEN then purported to examine her vagina and vaginal area.

                15.    During multiple appointments with Minor Victim~l,

ROBERT HADDEN, the defendant, conducted breast exams during which

HADDEN groped Minor Victim- l's breasts and pinched her nipples .

                16 .   During one appointment with Minor Victim-1, ROBERT

HADDEN, the defendant, conducted a vaginal exam during which HADDEN

digitally penetrated Minor Victim- 1 and intentionally touched her

G- spot.




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                                    Victim-1

           17.    Victim-1 ·was      a   patient   of   ROBERT   HADDEN,   the

defendant, from at least in or abput 2000 up to and including in

or about 2012.     In or about 2005, Victim-1 moved to a state outside

of New York,      where she lived for the remainder of her time as

HADDEN's patient.     After leaving New York, Victim-1 traveled from

out of state into New York for appointments with HADDEN.               HADDEN

knew that Victim-1 traveled from another state to New York for her

appointments.

           18.    After many of Victim-l's appointments between 2005

and 2012, ROBERT HADDEN, the defendant, directed Victim-1 to return

for - her next appointment and provided Victim-1 with instructions

on when to return.      As a result, Victim-1 continued to travel to

New York for the purpose of attending appointments with HADDEN on

multiple occasions.

           19.     During   these    appointments,      ROBERT   HADDEN,   the

defendant, repeatedly sexually abused Victim-1 through a course of

conduct that lacked any valid medical purpose.              For example,    in

the majority of appointments with Victim-1, HADDEN conducted two

breast exams.      During the -exams, HADDEN pulled on and manipulated

Victim-l's nipples.

           20.     In or about 2012, Victim-1 traveled from the state .

of her residence to New York at the direction of ROBERT HADDEN,

-the defendant.    Victim-1 traveled to New York exclusively for that



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appointment        with    HADDEN.            During   that      appointment,      HADDEN

administered a vaginal exam,                  during which he licked Victim-1' s

vagipa.

                                         Vict.im-2

             21.    Victim-2       was    a     patient     of   ROBERT     HADDEN,    the

defendant, from at least in or about 1993 up to and including in

or about 2012.            Beginning at least in or about 1997,                   Victim-2

resided outside of the state of New York, where she lived for the

remainder of her time as HADDEN's patient.                       As a result, between

approximately 1997 and 2012, Victim-2 traveled from out of state

into New York for           appointments with HADDEN.               HADDEN knew that

Victim-2     traveled       from     another        state   to    New     York   for   her

appointments.

             22.    After many of Victim-2's appointments between 1997

and 2012, ROBERT HADDEN, the defendant, directed Victim-2 to return

for her next appointment and provided Victim-2 with instructions

on when to return.         As a result, Victim-2 traveled to New York for

the purpose of attending appointments with HADDEN                           on multiple

occasions.

             23.     During    these      appointments,          ROBERT     HADDEN,    the

defendant, repeatedly sexually abused Victim-2 through a course of

conduct that lacked any valid medical purpose.                          For example, in

the majority of appointments with Victim-2, HADDEN conducted two

breast exams.        HADDEN usually conducted the first breast exam in



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the presence of a nurse, but he conducted the second breast exam

when he was alone with Victim-2 .                   During the second breast exam at

each appointment , HADDEN groped Victim- 2's breasts, and manipulated

her nipples.

                                          Victim-3

              24.     Victim- 3    was     a    patient      of   ROBERT   HADDEN,     the

defendant, from at least in or about late 2011 up to and including

in or about 2012.         In or about 2012 , , Victim-3 moved outside of the

state of New York, where she lived for the remainder of her time

as HADDEN's patient.            After leaving New York, Victim-3 remained

HADDEN ' s patient and traveled from out of state into New York for

appointments with HADDEN.             HADDEN knew that Victim-3 traveled from

another state to .New York for her appointments.

              25.     After    many   of       Victim-3' s      appointments    in   2012,

ROBERT HADDEN, the defendant, directed Victim- 3 -to return for her

next appointment and provided Victirn- 3 with instructions on when

to return .         As a result,      Victirn- 3 traveled to New York for the

purpose   of        attending      appointments          with     HADDEN   on   multiple

occasions .

              26.     During      these    appointments,          ROBERT   HADDEN,     the

. defendant, repeatedly sexually abused Victim-3 through a course of

conduct that l a cked any valid medical purpose .                  For example, during

the majority of Victim-3's prenatal appointments, HADDEN conducted

a breast exam on Victim-3, with one exception when a relative of



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Victim-3 was in the exam room.                 During those breast exams, HADDEN

groped     Victim-3's      breasts      and          touched       her   nipples.       At   an

appointment in or g.bout 2012,                 after Victim-3 had giv'e n birth,

HADDEN squeezed Victim-3's nipples to extract breast milk without

a valid medical purpose.

                                        Victim-4

             27.     Victim-4    was     a      patient        of    ROBERT    HADDEN,       the

defendant, from at least in or about 1998 up to and including in

or about 2010.       During the entire period that Victim-4 was HADDEN's

patient,    she resided in New York State but outside of New York

City.     When traveling from her residence to her appointments with

HADDEN,     Victim-4      routinely      crossed            into     another    state    while

traveling into Manhattan.                HADDEN            knew that Victim-4        traveled

through another state to New York for her appointments.

             28.     After    many      of     Victim-4's           appointments,       ROBERT

HADDEN,    the defendant, directed Victim-4 to return for her next

appointment        and   provided    instructions              to   Victim-4    on   when     to

return.     As a result, Victim-4 traveled through another state to

Manhattan for the purpose of attending appointments with HADDEN on

multiple occasions.

             29.     During     these        appointments,           ROBERT    HADDEN,       the

defendant, repeatedly sexually abused Victim-4 through a course of

conduct that lacked any valid medical purpose.                           For example, during

the majority of appointments with Victim-4, HADDEN conducted two



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breast exams.         A nurse was generally present for the first exam.

During the second exam, when a nurse was not present, HADDEN groped
                                      ,.
Victim-4's breasts and manipulated her nipples.

              30 .    During the majority of appointments with Victim- 4,

ROBERT      HADDEN,     the       defendant,              also    conducted   vaginal    exams,

including when Victim- 4 was pregnant.                           During those vaginal exams,

HADDEN    used his          fingers        to    apply lubrication directly on                the

outside of Victim-4's vagina .

              31.     In     or    about         2010,       Victim-4      traveled    from   her

residence through another state to Manhattan at the direction of

ROBERT HADDEN, the defendant.                         Victim-4 traveled through another

state to Manhattan exclusively for the purpose of attending her

appointment          with    HADDEN.                 During      that    appointment,    HADDEN

administered a vaginal exam,                         during which he licked Victim-4' s

vagina.

                                                Victim-5

              32.     Victim-5        was        a     patient      of   ROBERT   HADDEN,     the

defendant, from at least in or about 2002 up to and including in

or about 2011.         In or about 2003, Victim- 5 moved to a state outside

of New York,         where she lived for the remainder of her time as

HADDEN' s    patient.             After     leaving         New    York,    Victim-5    remained

HADDEN's patient and traveled from out of state into New York for




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appointments with HADDEN.              HADDEN knew that Victim-5 traveled from

another state to New York for her appointments.

              33.     After many of Victim~5's appointments between 2003

and 2011, ROBERT HADDEN , the defendant, directed Victim-5 to return

for her next appointment and instructed Victim- 5 on when to return.

As a      result,    Victim-5 t:;-aveleq to New . York for the purpose of

attending appointments with HADDEN on multiple occasions.

              34.     During        these    appointments,         ROBERT     HADDEN,    the

defendant , repeatedly sexually abused Victim-5 through a course of

conduct that lacked any valid medical purpose.                      For example, during

the majority of appointments with Victim- 5,                       HADDEN conducted at

least one breast exam, including when Victim-5 was pregnant.                             At

some      appointments        with    Victim- 5,       HADDEN     conducted    two   breast

exams.      In or about 2009, during an appointment after Victim-5 had

given birth, HADDEN conducted a breast exam and squeezed Victim-

S's nipples to extract breast milk without a valid medical purpose.

                                COUNT ONE
            (Enticement and Inducement to Travel to Engage in
                            Illegal Sex Acts )

              The Grand Jury further charges:

              35.     The      allegations            contained     in      paragraphs     1

through 34 of this            Indictment are repeated and realleged as                    if

fully set forth within .

              36 .    From at least in or about 2010, up to and including

in   or    about     2012 ,    in    the    Southern     District     of    New   York   and



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elsewhere, ROBERT HADDEN,           the defendant,             knowingly did persuade,

induce, entice , and coerce an individual to travel in interstate
                                                          ,.
and f9reign . commerce to engage in sexual activity for ·which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Minor Victim-1 to travel to New York, New York from another state

on multiple occasions with the intention that HADDEN would engage

in one or more sex acts with Minor Victim- 1, in violation of New

York Penal Law Sections 130.52 and 130.55.

      (Title 18, United States Code, Sections 2422(a ) and 2. )

                               COUNT TWO
           (Enticement and Inducement to Travel to Engage in
                           Illegal Sex .Acts)

            The Grand Jury further charges:

            37.    The         allegations          contained      in     paragraphs     1

through 34 of this Indictment are repeated and realleged as if

fully set forth within.

            38.    From at least in or about 2005, up to and including

in   or   about   2012,    in     the   Southern       District      of   New   York   and

elsewhere, ROBERT HADDEN,           the defendant,             knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate

and foreign commerce to            engage in sexual activity for which a

person can be charged with a criminal offense , and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Victim-1 to travel to New York,                    New York from another state on


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multiple occasions with the intention that HADDEN would engage in

one or more sex acts with Victim- 1, in violation of New York Penal
              ,.
Law Sections 130.52, 130 . 55, and 130.40.

      (Title 18, United States ~ode , Sections 2422(a) and 2 . )

                              COUNT THREE
           (Enticement and Inducement to Travel to Engage in
                           Illegal Sex Acts)

            The Grand Jury further charges:

            39.      The    allegations        contained      in    paragraphs     1

through 34 of this          Indictment are repeated and realleged as i{

fully set forth within.

            40.      From at least in or about 1997, up to and including

in   or   about     2012,   in    the   Southern   District    of   New   York   and

elsewhere, ROBERT HADDEN, the defendant,              knowingly did persuade,

induce,   entice , and coerce an individual to travel in interstate

and foreign        commer·ce to    engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Victim- 2 to travel to New York,               New York from another state on

multiple occasions with the intention that HADDEN would engage in

one or more sex acts with Victim-2, in violation of New York Penal

Law Sections 130 . 52 and 130.55.

      (Title 18, United States Code, Sections 2422(a) and 2.)




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                                 COUNT FOUR
             (Enticement and Inducement to Travel to Engage in
                             Illegal Sex Acts)

              The Grand J.ury further charges:

              41.    The        allegations                    contained     in      paragraphs     1

through 34 of this Indictment are repeated and realleged as if

fully set forth within.

              42.     In or about 2012, in the Southern District of New

York and elsewhere,             ROBERT HADDEN,                   the defendant,      knowingly did

persuade,      induce,     entice,     and coerce an individual to travel in

interstate and foreign commerce to engage in sexual activity for

which    a    person      can    be   charged                  with   a   criminal    offense,    and

attempted to         do   the    same,   to         wit,          HADDEN persuaded,        induced,

enticed, and coerced Victim-3 to travel to New York, New York from .

another state on multiple occasions with the intention that HADDEN

would engage in one or more sex acts with Victim-3, in violation

of New York Penal Law Sections 130.52 and 130.55.

        (Titl~ 18, United States Code, Sections 2422(a ) and 2. )

                                 COUNT FIVE
             (Enticement and Inducement to Travel to Engage in
                             Illegal Sex Acts)

              The Grand Jury further charges:

              43.    The        allegations                    contained     in      paragraphs     1

through 34 of this Indictment are repeated and realleged as if

fully set forth within.

              44 .    From at least in or about 1998, up to and including



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in   or   about    2010,   in   the    Southern    District    of   New   York   and

elsewhere, ROBERT HADDEN,         the defendant,       knowingly did persuade,
                                  ,.
induce, entice, and coerce an individual to travel in interstate

and foreign commerce to engage in sexual activity for which a

person can be charged with a criminal offense , and attempted to do

the same , to wit, HADDEN persuaded, induced, enticed , and coerced

Victim-4 to travel to New York, New York through another state on

multiple occasions with the intention that HADDEN would engage in

one or more sex acts with Victim-4, in violation of New York Penal

Law Sections 130.52, 130.55, and 130.40.

      (Title 18, United States Code , Sections 2422(a) and 2.)

                               COUNT SIX
           (Enticement and Inducement to Travel to Engage in
                           Illegal Sex Acts)

            The Grand Jury further charges:

             45.    The    al l egations        contained     in    paragraphs     1

through 34 of this         Indictment are repeated and realleged as if

fully set forth within.

             46.    From at least in or about 2003, up to and including

in   or   about    2011,   in   the    Southern    District    of   New   York   and

elsewhere, ROBERT HADDEN, the defendant,               knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate

and foreign commerce to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced
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 Victim-5 to travel to New York,     New York from another state on

 multiple occasions with the intention that HADDEN would engage in

 one or more sex acts with Victim-5, i~ violation of New York Pena l

 Law Sections 130.52 and 130.55.

      (Title 18, United States Code, Sections 2422(a) and 2.)




-cj&11;D!p@)
 FREPERSON                            AUDREY TRAUSS
                                      Acti::nited States Attorney
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           Form No. USA-33s - 274   (Ed. 9;25-58)



              UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


                UNITED STATES OF AMERICA

                             v.

                      ROBERT HADDEN ,

                                          Defendant .


                        INDICTMENT

               (18 U. S.C . §§ 2422(a) and 2)

                     AUDREY STRAUSS
              Acting United States Attorney
